                                         Case 1:17-bk-12408-MB              Doc 298 Filed 12/06/17 Entered 12/06/17 16:00:11                        Desc
                                                                              Main Document Page 1 of 2


                                           1   SAMUEL R. MAIZEL (SBN 189301)
                                               TANIA M. MOYRON (SBN 235736)
                                           2   DENTONS US LLP
                                               601 South Figueroa Street, Suite 2500                       FILED & ENTERED
                                           3   Los Angeles, California 90017-5704
                                               Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                                           4   Email: samuel.maizel@dentons.com; tania.moyron@dentons.com DEC 06 2017
                                               Attorneys for Official Committee of Equity Security Holders
                                           5
                                                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                                          Central District of California
                                           6                                                                              BY Ogier      DEPUTY CLERK


                                           7
                                                                                                                 CHANGES MADE BY COURT
                                           8
                                                                              UNITED STATES BANKRUPTCY COURT
                                           9                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                                SAN FERNANDO VALLEY DIVISION
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500




                                               In re:                                                       Lead Case No.: 1:17-bk-12408-MB
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11                                                                Jointly administered with:
                                                                                                            1:17-bk-12409-MB Chapter 11 Cases
                                               ICPW Liquidation Corporation, a California
         DENTONS US LLP




                                          12
                                               corporation,1
            (213) 623-9300




                                                                                                            ORDER APPROVING STIPULATION
                                          13
                                                                                                            ON FIRST INTERIM APPLICATION
                                          14                   Debtor and Debtor in Possession.             FOR ALLOWANCE OF FEES AND
                                                                                                            COSTS FILED BY BROWN RUDNICK
                                          15   In re:                                                       LLP [SEPTEMBER 22, 2017 TO
                                                                                                            NOVEMBER 9, 2017], DKT. 271
                                          16   ICPW Liquidation Corporation, a Nevada
                                               corporation,2
                                                                                                            DATE:        December 12, 2017
                                          17
                                                               Debtor and Debtor in Possession.             TIME:        1:30 p.m.
                                          18                                                                PLACE:       Courtroom “303”
                                                    Affects:                                                             21041 Burbank Blvd.
                                          19                                                                             Woodland Hills, CA 91367
                                                      Both Debtors
                                          20
                                                   ICPW Liquidation Corporation, a California
                                          21   corporation

                                          22       ICPW Liquidation Corporation, a Nevada
                                               corporation.
                                          23

                                          24               The Court, having read and considered that certain Stipulation On First Interim

                                          25   Application For Allowance Of Fees And Costs Filed By Brown Rudnick LLP [September 22,

                                          26   2017 To November 9, 2017], filed on November 28, 2017, Dkt. 271 (the "Stipulation"), and with

                                          27   good cause appearing, orders as follows:

                                          28   1
                                                   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                               2
                                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

                                                                                                        1
                                               105811191\V-1
                                         Case 1:17-bk-12408-MB          Doc 298 Filed 12/06/17 Entered 12/06/17 16:00:11           Desc
                                                                          Main Document Page 2 of 2


                                           1               1.   The Stipulation is approved.

                                           2               2.   The fees requested by Counsel for the Creditors’ Committee shall be reduced by

                                           3   $17,000.

                                           4               3.   This Order approving the Stipulation in no way constitutes a final ruling on the

                                           5   First Interim Application For Allowance of Fees and Costs Filed by Brown Rudnick LLP, Dkt.

                                           6   231.

                                           7               IT IS SO ORDERED.

                                           8

                                           9                                                   ###

                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
         DENTONS US LLP




                                          12
            (213) 623-9300




                                          13

                                          14

                                          15

                                          16

                                          17

                                          18

                                          19

                                          20
                                          21

                                          22

                                          23
                                               Date: December 6, 2017
                                          24

                                          25

                                          26
                                          27
                                          28

                                                                                                2
                                               105811191\V-1
